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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
CEFERINO ANORA, JR.,                                                  :
                                                                      :
                                        Plaintiff,                    :           ORDER
                                                                      :
                              -against-                               :     19-CV-11732 (LJL)(KNF)
                                                                     :
OASIS PROFESSIONAL MANAGEMENT GROUP,                                :
LTD., MARISSA BECK, RAMON AVENA,                                    :
                                                                    :
                                        Defendants.                   :
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE


         The telephone conference scheduled for December 15, 2020 at 10:00 a.m. will be held at 5:30

p.m. on the same date. The parties shall use call-in number (888) 557-8511 and access code

4862532.

Dated: New York, New York                                                   SO ORDERED:
       November 5, 2020
